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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                             CR-15-19-BMM

                 Plaintiff,
                                                    FINDINGS AND
       vs.                                      RECOMMENDATIONS TO
                                                 REVOKE DEFENDANT’S
 COBRA JADE SPOTTED WOLF,                        SUPERVISED RELEASE

                 Defendant.


                                    I. Synopsis

      The United States accused Mr. Spotted Wolf of violating his conditions of

supervised release by (1) submitting a urine sample that tested positive for

methamphetamine, and (2) absconding from the Great falls Prerelease Center. He

admitted allegation 2 but denied allegation 1. The United States agreed to dismiss

allegation 1 in exchange for Mr. Spotted Wolf agreeing to a sentence of five

months in custody, with nineteen months of supervised release to follow.

                                     II. Status
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      United States District Judge Brian Morris sentenced Mr. Spotted Wolf to

twenty-eight months in custody, with twenty-four months of supervised release to

follow, on October 15, 2015, after he pleaded guilty to Assault Resulting in

Serious Bodily Injury. (Doc. 66.) He began his first term of supervised release on

May 3, 2017.

      Petition

      The Probation Office filed a Petition for Warrant for Offender Under

Supervision on June 28, 2017, accusing Mr. Spotted Wolf of violating the

conditions of his supervised release by (1) submitting a urine sample that tested

positive for methamphetamine, and (2) absconding from the Great falls Prerelease

Center. (Doc. 78.) Judge Morris issued a warrant for his arrest based on the

allegations in the petition. (Doc. 79.)

      Initial appearance

      Mr. Spotted Wolf appeared before the undersigned for an initial appearance

on July 12, 2017, in Great Falls, Montana. Federal Defender David Ness

accompanied him at the initial appearance. Assistant United States Attorney Jared

Cobell represented the United States.

      Mr. Spotted Wolf said he had read the petition and understood the

allegations. He waived the preliminary hearing, and the parties consented to

proceed with the revocation hearing before the undersigned.
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      Revocation hearing

      Mr. Spotted Wolf admitted to allegation 2 but denied allegation 1. The

United States agreed to dismiss allegation 1 in exchange for Mr. Spotted Wolf

agreeing to a sentence of five months in custody, with nineteen months of

supervised release to follow.

      Mr. Spotted Wolf’s violation grade is Grade C, his criminal history category

is I, and his underlying offense is a Class C felony. He could be incarcerated for up

to twenty-four months. He could be ordered to remain on supervised release for

twenty-four months, less any custody time imposed. The United States Sentencing

Guidelines call for five to eleven months in custody.

                                   III. Analysis

      Mr. Spotted Wolf’s supervised release should be revoked because he

admitted to violating its conditions. He should be sentenced to sentenced to five

months in custody, with nineteen months of supervised release to follow. This

sentence would be sufficient given the serious violation of the Court’s trust, but it

would not be greater than necessary.

                                  IV. Conclusion

      Mr. Spotted Wolf was advised that the above sentence would be

recommended to Judge Morris. The Court reminded him of his right to object to

these Findings and Recommendations within 14 days of their issuance. The
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undersigned explained that Judge Morris would consider his objection, if it is filed

within the allotted time, before making a final determination on whether to revoke

his supervised release and what, if any, sanction to impose.

      The Court FINDS:

             Cobra Jade Spotted Wolf violated the conditions of his supervised
             release by absconding from the Great falls Prerelease Center.


      The Court RECOMMENDS:

             The district court should enter the attached Judgment,
             revoking Mr. Spotted Wolf’s supervised release and
             committing him to the custody of the United States
             Bureau of Prisons for five months in custody, with
             nineteen months of supervised release to follow.

        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.
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Dated the 15th day of August 2017.
